O AO 472 (Rev. 12/03) Order of Detention Pending Trial


                                          UNITED STATES DISTRICT COURT
                         WESTERN                                         District of                             NORTH CAROLINA
          UNITED STATES OF AMERICA
                     V.                                                              ORDER OF DETENTION PENDING TRIAL
           AMY ELIZABETH ARCH                                                      Case     2:08 mj 06
                              Defendant
    In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require the
detention of the defendant pending trial in this case.
                                                            Part I— Findings of Fact
G (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a G federal offense G state
         or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed - that is
         G a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
         G an offense for which the maximum sentence is life imprisonment or death.
         G an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                 .*
         G a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
              § 3142(f)(1)(A)-(C), or comparable state or local offenses.
G (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
G (3) A period of not more than five years has elapsed since the G date of conviction G release of the defendant from imprisonment
         for the offense described in finding (1).
G (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
         safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                                    Alternative Findings (A)
     (1) There is probable cause to believe that the defendant has committed an offense
              for which a maximum term of imprisonment of ten years or more is prescribed in                                                        .
              under 18 U.S.C. § 924(c).
     (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure
         the appearance of the defendant as required and the safety of the community.
                                                               Alternative Findings (B)
     (1) There is a serious risk that the defendant will not appear.
X    (2) There is a serious risk that the defendant will endanger the safety of another person or the community.

                                          SEE ATTACHED ADDENDUM TO DETENTION ORDER




                                            Part II— W ritten Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by X clear and convincing evidence                           a prepon-
derance of the evidence that
                                       SEE ATTACHED ADDENDUM TO DETENTION ORDER




                                                   Part III— Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility separate,
to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance
in connection with a court proceeding.

                       Date                                                                           Signature of Judge
                                                                                      Dennis L. Howell, United States Magistrate Judge
                                                                                                 Name and Title of Judge
*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or (c)
Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).

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                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              BRYSON CITY DIVISION
                                    2:08 mj 06

UNITED STATES OF AMERICA,

Vs.                                                                      ADDENDUM TO
                                                                        DETENTION ORDER
AMY ELIZABETH ARCH.
_______________________________

I. FACTORS CONSIDERED

      18 U.S.C. § 3142:
      (g) Factors to be considered.--The judicial officer shall, in determining whether there are
      conditions of release that will reasonably assure the appearance of the person as required and
      the safety of any other person and the community, take into account the available information
      concerning--
       (1) The nature and circumstances of the offense charged, including whether the offense is a
        crime of violence, a Federal crime of terrorism, or involves a minor victim or a controlled
       substance, firearm, explosive, or destructive device;
       (2) the weight of the evidence against the person;

       (3) the history and characteristics of the person, including--

           (A) the person's character, physical and mental condition, family ties, employment,
               financial resources, length of residence in the community, community ties, past
               conduct, history relating to drug or alcohol abuse, criminal history, and record
               concerning appearance at court proceedings; and
            (B) whether, at the time of the current offense or arrest, the person was on probation,
                on parole, or on other release pending trial, sentencing, appeal, or completion of
                sentence for an offense under Federal, State, or local law; and
      (4) the nature and seriousness of the danger to any person or the community that would be
        posed by the person's release.




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 II.                                     FINDINGS


 As to factor:


 (g)(1): The nature and circumstances of the offense charged involve a crime of violence.


  (g)(2): The weight of the evidence against the person appears to strong and significant. The
 defendant, along with four other persons, brutally beat, kicked and stabbed a victim resulting
 in over 18 separate stab wounds to the victim.


 (g)(3): The history and characteristics of the person


     (A) Family ties, employment, financial resources, length of residence in the community,
 community ties, past conduct, history relating to drug or alcohol abuse, criminal history
 and record concerning appearance at court appearances indicate that the defendant has
 family ties. She is age 24 but only worked during the period from 2006 to 2007. As a
 result, the defendant’s employment is intermit. The defendant has a long length of residence
 in the Cherokee community. In regard to the defendant’s history relating to drug or alcohol
 abuse, the defendant has used methamphetamine, cocaine and marijuana but all of these
 substances have not been used for a substantial period of time. The defendant does consume
 alcohol on the weekend and becomes intoxicated. The defendant’s criminal record shows
 that on February 12, 2003 she pled guilty to reckless driving which involved an alcoholic
 beverage.
 The defendant’s record concerning appearance at court appearances shows that the defendant
 has appeared as she has been required to do.


      (B) At the time of the current offense or arrest, the defendant was on probation, parole
 or other release pending trial, sentencing, appeal or completion of sentence. It appears that
 this factor does not exist.


  (g)(4): The nature and seriousness of the danger to any person or the community that would
 be posed by the person’s release indicate that based upon clear and convincing evidence, the
 release of the defendant would create a risk of harm or danger to any other person or the
 community. A statement the defendant gave to the investigating officers shows that the
 defendant admitted that she had kicked and punched the victim numerous times over the
 course of several minutes. The defendant punched the victim in the face and on the nose.
 The victim then escaped from where he was being assaulted. The defendant and her co-
 defendant’s chased the victim down and then continued to assault him. At that time, the
 defendant kicked the victim behind the left ear and in the center of the chest and “all over”.
 The defendant further made a statement that she saw a co-defendant stabbing the victim and
 at that time the defendant was kicking the victim in the head while three other persons were



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standing on the right side of the victim kicking him. These facts shows a brutal assault
committed by the defendant and her co-defendants. These acts show that the release of the
defendant would create a risk of harm or damage to any other person or the community. As
a result, the undersigned has determined to enter an order detaining the defendant.
The undersigned does not find by a preponderance of the evidence that the release of the
defendant would create a risk of flight on her part.
WHEREFORE, it is ORDERED that the defendant be detained pending further
proceedings in this matter.


                                        Signed: March 12, 2008




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